f Case 1:19-mj-03712-AOR Document 1 Entered on FLSD Docket 10/28/2019 Page 1 of 5



                                UN ITED STAT ES DISTRIC T C O U R T
                                SO U TH ERN D ISTR IC T O F FLO R IDA

                                   No.    1111-N'-03?/Q
   UN ITED STA TE S O F A M ER IC A

   V S.

   W ILM AR CAICEDO PO RTOCARRERO,
   HEVERT GODOY BENALCAZAR and
   LEO N A RD o AN CH IC O JIM EN EZ,

           Defendants.


                                      CR IM INA L C O V ER SH E ET

          D id this m atter originate from a m atter pending in the CentralRegion of the U nited States
          Attorney'sOfficepriortoAugust9,2013(M ag.JudgeAliciaValle)?                    Yes x No
   2. D id this m atteroriginate from a m atterpending in the N orthern Region ofthe U nited States
      Attorney'sOfficepriortoAugust8,2014(M ag.JudgeShaniek Maynard)? Y es x N o     -




                                                         Respectfully submitted,

                                                         AR IA N A FA JA RD O O RSHA N
                                                         UN ITED STA T A TTORN EY


                                                 By:
                                                         F D ERI .SH A D L
                                                         A s stantU ted States ttorney
                                                         CourtID N o.A550229
                                                         99 N ortheast4thstreet
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                                                         Frederic.shadley@ usdoj.gov
   Case 1:19-mj-03712-AOR Document 1 Entered on FLSD Docket 10/28/2019 Page 2 of 5

AO 91(Rev.11/11) CriminalComplaint

                                U NITED STATES D ISTRICT COURT
                                                           forthe
                                         SOUTHERN DISTRICT OF FLORIDA
          UNITED STATES OF AM ERICA                           )
                                                                                             '
                                                              ) CaseNo.l.
                                                                        .jj.sj jgg.tg            -

     W ILM AR CAICEDO PORTOCARRERO,
     HEVERT GODOY BENALCAZAR ,and
                                                              )                          ,
                                                                                             .




        LEONARDO ANCHICO JIM ENEZ.                            )
                                                              )
                                                              )
                                            C R IM IN AL C O M PLA IN T
      1,thecomplainantin thiscase,statethatthe following istrueto thebestofmy knowledge and belief.

     Beginning on an unknown dateand continuing through on orabout October15,2019                    ,upon thehigh seas
outsidethejurisdictionanyparticularstateordistrict,in internationalwaters,whileonboardavesselsubjecttothe
jurisdictionoftheUnitedStates,thedefendantts)violated:
           Code Section
Titl
   e 46,Uni
          ted States           conspiracytopossèsswi
                                                   thintenttodistrifJJe
                                                                      CXa'
                                                                         VC
                                                                          coDk
                                                                            nrs
                                                                              oqlei
                                                                                  cts
                                                                                    io
                                                                                     uLstance,whileonboardavessel
 Code,Secti
          on70506(b)           subjecttothejuri
                                              sdictionoftheUnitedStates,inviolationof46U.S.C.â70503(a)(1);aIIin
                               violati
                                     onof46 U.S.C.j70506(b).
                               Pursuantto46U.S.C.j70506(a),and21U.S.C.j960(b)(1)(B),itisfurtherallegedthatthis
                               violationinvolvedfive (5)ormore kilogramsofa mi
                                                                             xture andsubstance containinga detectable
                               am ountofcocaine.

 Titl
    e 18,Uni
           ted States          Conspiracyto operate asem i -submersible vesselwithoutnationality,thatis,thedefendantsdid
 Code,Section 2285             knowinglyand will fullycombine,conspire,and agree with eachother,to operateandembarkby
                               any means in a semi-subm ersible vesselwithoutnationality and with the intentto evade detection
                               into,through orfrom waters beyond the outerIim i
                                                                              tofthe territorialsea ofa single countryor
                               lateralIimitofthatcountry'
                                                        sterri
                                                             tori
                                                                alseawithand adjacentcountry.

 This crim inalcom plaintis based on these facts:
                                               SEE ATTACHED AFFIDAVIT
        Z continuedontheattachedsheet.

                                                                                      Complainant'
                                                                                                 ssignature
                                                                               DEA SpecialAgentBrian M.Smith
                                                                                       Printed nam eand title

Sworntobeforeme and signed in my presence.


0-,
  -, ?//zz/zv                                                                            Judge'
                                                                                              ssignature

City and state: Miami,Florida                                         Hon.Alicia M.Otazo-Reyes,U.S.Magistrate Judge
                                                                                       Printednameand title
Case 1:19-mj-03712-AOR Document 1 Entered on FLSD Docket 10/28/2019 Page 3 of 5



                                             A FFIDA V IT

        1,Brian Sm ith,being duly sworn,hereby depose and statethefollowing:

               1 am currently assigned as a Special A gent w ith the D rug Enforcem ent

 Administration(DEA)inM inmi,FloridaandhaveworkedinthiscapacitysinceNovember1998.
 M y oftkialDEA dutiesincludeinvestigatingcrim inalviolationsoffederalnarcoticslaws 1have
                                                                                      .




 alsobeen involved invarioustypesofvisualand electronicsurveillanees,and 1havebeen involved

 in the debriefing ofdefendants,witnesses,inform ants,and others who have knowledge ofthe

 distribution and transportation ofcontrolled substances,and ofthe laundering and concealing of

 proceedsfrom drug traflcking. lam familiarwith the waysin which dnzg traflckers conduct

 theirbusiness,including butnotlimited to theirm ethodsofim porting and distributing narcotics.

 Asa1aw enforcementoftkerwithin themeaning ofSedion 2510(7)ofTitle 18,United States
 Code,lam empowered by 1aw to conductinvestigationsofand m ake arrestsfor, butnotlim ited

 to,offensesenum erated in Titles18,21and 46 ofthe United StatesCode.

        2.     ThisAffdavitissubm itted forthe limited purpose ofestablishing probablecause

 in support of a crim inal com plaint against W ilmar CAICEDO Portocarrero, Hevert Juliane

 GODOY Benalcazar,and Leonardo ANCHICO Jimenez,for:(1) knowingly and willfully
 conspiring to possess with intentto distribute cocaine while on board a vesselsubjectto the
jurisdictionoftheUnitedStates,inviolationofTitle46,UnitedStatesCode,Sections70503(a)(1)
 and 70506(b);and (2) conspiracy to operate and embark a semi-submersible vesselwithout
 nationality,inviolationofTitle18,UnitedStatesCode,Sections2285(a)and (b).
              On oraboutOctober15,2019,whileon patrolin the Eastern PaciticOcean,aU .S.

 GovernmentMarinePatrolAircraft(M PA)detected a self-propelled semi-submersible (SPSS),
approximately 180 nauticalmilessouth oftheCostaRican/panamaborderin intem ationalwaters.
Case 1:19-mj-03712-AOR Document 1 Entered on FLSD Docket 10/28/2019 Page 4 of 5



 The U.S.CoastGuard Cutter(USCGC)Jameswas 30 nauticalmiles north ofthe SPSS,and
 diverted to intercept. The USCGC Jam eslaunched ahelicopter,an unm nnned aelialsurveillance

 vehicle,and twosmallervessels. The aerialsurveillancereported onecrewm emberwasobserved

 exiting the hatch on top ofthe SPSS.

                A smallerUSCG vessel,anOvertheHorizon(OTH),gainedpositiveeontrolofthe
 SPSS in internationalwaters. TheOTH boarding team fotmdthree individualson the SPSS, and

 broughtthem on board the OTH forofticer safety. Those individualswere W ilm arCAICEDO

 Portocarrero,HevertJulianeGODOY Benalcazar,and Leonardo ANCHICO Jimenez. TheOTH

 boarding tenm observed no vesselname,no registration num ber,no m arkingson the vessel, and

 nootherindiciaofnationality. Thevesselwasmorethansixtypercent(60% )'
                                                                    underthewaterline.
 Based on initialroutine questioning,the m aster ofthevesseldaim ed Colom bian nationality for

 him self,butnotforthevessel. Based ontheinvestigation to thatpoint,theUSCG wasauthorized

 totreatthe SPSS asavesselwithoutnationality.

        5.     The boarding tenm was authorized to conducta fu111aw enforcementboarding.

 The boarding team recovered multiple electronic devices and 57 packages ofcontraband which

 tested positive forcocaine. The totalw eightofthe cocaine w as approxim ately 1,140 kilogram s.

        6.     The U .S.Coast Guard subsequently detained a11three individuals who were on

 board the SPSS. They are a1l Colom bian nationals. Allthree are currently en route to the

 Southern DistrictofFlorida. They areexpected to arrivein the Southern DistrictofFlorida on or

 aboutOctober27,2019. Atthatpoint,they willbe transferred to the custody ofUnited States

 law enforcem ent.

               B ased on the foregoing facts,I subm it that probable cause exists to believe that
Case 1:19-mj-03712-AOR Document 1 Entered on FLSD Docket 10/28/2019 Page 5 of 5



 W ilmarCAICEDO Portocarrero,HevertJuliane GODOY Benalcazar, and Leonardo ANCHICO

 Jimenez,whileon board avesselsubjectto thejurisdiction oftheUnited States,did knowingly
 and intentionally conspire to possess with intentto distribute cocaine, in violation ofTitle 46,

 UnitedStatesCode,Sections70503(a)(1)and70506(b),anddidknowinglyandwillfullycombine,
 conspire,and agreewith each other,to operate and em bark by any m eansin a sem i- subm ersible

 vesselwithoutnationality and with the intentto evade detection into, tllrough,or from waters

 beyond the outerlimitofthe tenitorialsea ofa single country or laterallimitofthatcountry's

 territorialseawithanadjacentcountry,inviolationofTitle 18,United StatesCode,Section2285       .



       FU RTH ER Y O UR A FFIA NT SA Y ETH N A U G H T .




                                             lian M .Smith
                                            SpecialA gent
                                            Drug Enforcem entAdm inistration


Sworn t me and subscribed beforem e
this     day ofOctober,2019
in M inm i,Florida.



THE HONORABLE ALl IA M . AZO-REYES
UN ITED STATES M AGISTRATE JUDGE




                                              3
